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 AO 399 (01/09) Waiver ofthe Service of Summons


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                  District of Massachusetts

                      Berlik1 e_t a_l_. _______
------"""S'""'a_hc _a__                                                           )
                                 Plaintiff                                        )
                                    V.                                            )       Civil Action No. 1:21-cv-11723
                        Michael Baker. et al.                                     )
                                Defendant                                         )

                                                 WAIVER OF THE SERVICE OF SUMMONS

 To: Sara M. Lord
               (Name ofthe ptainilfj's aliorncy or r.nrepresemeti plamt!l})

       I have received your request to waive service of a summons in this action i-¼long with a i,:opy of the wmp!aint,
two copies ofthis waiver torm, and a prepaid 'means of returning one sig ned copy of the form to you.
            I, or the entity I t'cprescnt, a.g1c:e to :sav� llie expense of serving a !iUmmons and complaint in this cast!.
         r understand that T, or th� entity f repre:.-.ent, will keep all rlP-ff':nM!I or objections to the faw�uit, the c:omt'i.
Jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        I also understand Ilia! I, or !he entity I n:prcs�11l, musl filt: am.I i.t:1 Vii au answer or a motion under Rule 12 wilhi11
60 days from               11116/2021             _, the date when this request was sent (or 90 days if it was sent out,;ide thf:
United States). Ifl fail to do so, a default judgment will be enter against me or the entity I represent.

            12/14/2021
                                                                                                    Sig11a(u,e oft/11.' llfillt't1Y)l tl1' WW?cf11t?.lt!/l(P,/ /1/1/'l'JJ
        Don Butler
        Primedname ofj)llJ'IY waiving service ofs11ttt1ttans
                                                                                                       Wi!merHa!e
                                                                                                       60 State Street
                                                                                                       Boston,_MA 02109
                                                                                                                                Address

                                                                                                  x= ��3li�@_wilmerh3Le.ro1L
                                                                                                          E-mail address

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                                                                                                          +1617526 6654
                                                                                                                         Telephone number
                                                                                                                                                                    .........,,........____   --
                                               Outy liJ Avoid U1mtecssary E:qiens.-s ofScrving a Summons -
             Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of ser11ing a summons
and CQfl'l{tl.airu. A defon,!ant who is loefJted in the I.Jniletl Stmes nnd ,wio fails If.I r-:tum a �ienr.,! waiver of service r>�ue.s!e<l by a plainlifflnc�tt>d in
the United States will be required to pay the expenses of seNice, unless the defondimt shows good cause for the failure.
          "Good c:a11se" dne� nnt indmlr-11 belieflhat the lawsuit is groundles.1, or that it has been hmneht in an improper vem11\ orlhllt thr. mnrt h11�
no jurisdiction over this matter or over the defendant or the defendant's property,
        If the waiver is signed ;md rctumcd, you CM still make these ood all other de fen= and objection,, but you cannot object to the absence of
a summons or of service.

          If you waive service, then you must, within the time spedfied on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and fik a copy with the court. By signing and returning the waiver fonn, you are allowed more time to respond than ifa summons had been served.
